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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
v. Case No: 8:21-cv-1621-KKM-JSS
APPROXIMATELY $1,899,663.50
SEIZED FROM FIRST INTERNET
BANK ACCOUNT NUMBER 301680767,

Defendant.

 

JUDGMENT OF FORFETTURE

The United States requests a judgment of forfeiture for approximately
$1,899,663.50 seized from First Internet Bank account number 30168767. (Doc. 8.) The
Court concludes that the funds are subject to forfeiture under 18 U.S.C. § 981(a)(1)(C)
and Rule G(2) of the Supplemental Rules for Certain Admiralty or Maritime Claims and
Asset Forfeiture Actions. Therefore, the Court grants the United States’ motion and enters
this judgment of forfeiture.

Fully advised of this action, the Court finds that the funds are forfeitable to the
United States because the funds are property that is traceable to a wire fraud scheme that

violated 18 U.S.C. § 1343. The funds are thus property traceable to a violation of an offense
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constituting “specified unlawful activity,” § 981(a)(1)(C) (incorporating the definitions in
18 U.S.C. § 1956(c)(7), which includes wire fraud under § 1343)), and subject to civil
forfeiture to the United States under 18 U.S.C. § 981(a)(1)(C).

The Court further finds that the United States provided proper notice to known
and unknown individuals who may have an interest in the funds. The only known
individuals with a potential interest in the funds are D.H.,' First Internet Bank, and
Kabbage, Inc. (Doc. 8 at 2; Doc. 1 at 4.) As required in Rule G(4)(b), the United States
provided these individuals with notice of this action. (Doc. 8 at 2; Doc. 8-1.) The notice
informed them that they must file a claim within 35 days of the notice date and file an
answer to the complaint within 21 days after filing a claim. (Doc. 8 at 3; Doc. 8-1.) None
of these individuals have filed a claim or an answer or otherwise appeared, and the time to
do so has expired. (Doc. 8-1. at 1.)

The United States also provided notice to unknown potential claimants. The United
States published notice of this forfeiture action on its official website, www.forfeiture.gov,
for a thirty-day period concluding on August 8, 2021. (Doc 8-1 at 7); see Rule G(4)(a)(i),
(iv)(C). Rule G(5)(a)(ii)(B) requires claimants file a claim within sixty days of receiving
notice through the publication. The time has expired and no claims have been filed. (Doc.

8 at 4.)

 

' The United States considers D.H. a victim in this action and has, accordingly, redacted D.H.’s name and
other identifying information. (Doc. 8 at 2.)

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Since the United States properly provided notice of the forfeiture and no one has
timely filed a claim or an answer, it is now appropriate for this Court to enter a judgment
of forfeiture for the funds.
Upon review and consideration, the following is ORDERED:
1. The United States’ Motion for Judgment of Forfeiture (Doc. 8) is
GRANTED.

2. Under 18 U.S.C. § 981(a)(1)(C) and Supplemental Rule G, all right, title,
and interest in the approximately $1,899,663.50 seized from First Internet
Bank account number 30168767 is hereby CONDEMNED and
FORFEITED to the United States for disposition according to law. Clear
title to the approximately $1,899,663.50 is now vested in the United States
of America.

3. The Clerk is directed to TERMINATE any pending motions and

deadlines, ENTER judgment, and CLOSE this case.

ORDERED in Tampa, Florida, on October 20, 2021.

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Kathryn‘Kimball Mizelle
United States District Judge

 
